      Case:14-08561-MCF13 Doc#:75 Filed:06/08/16 Entered:06/08/16 10:06:18                              Desc:
                         Objection to Claim - Single Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:

CARMELO CAEZ CRUZ
dba CAR GRUA                                                Case No. 14−08561 MCF
AMARILYS COLON FERNANDEZ
aka AMARILYS COLON, dba CCDN MOTHER
GOOSE, dba CENTRO DE CUIDO MOTHER                           Chapter 13
GOOSE


xxx−xx−2682                                                 FILED & ENTERED ON 6/8/16
xxx−xx−4966


                        Debtor(s)



                                                      ORDER

Debtors's objection to claim #8 filed by Department of Treasury (docket entry #51), having been duly notified to all
parties in interest, and no replies or objections having been filed timely, it is now ORDERED that said motion be and
it is hereby granted.

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Wednesday, June 8, 2016 .
